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(Rev.03/2016)
                                   UNITED STATES DISTRICT COURT
                                   SO UTHERN DISTRICT OF FLORIDA

                                           APPEARANCE BOND:

                                    CASE NO.:19-6187-M J-SELTZER
UN ITED STATES OF AM ERICA :
                 Plaintiff,
                                                           JA IL #:19879-104
JOHN KLESS
                      Defendant,
1, JOHN KLESS the undersigned defendant and l or we, the undersigned sureties, jointly and severally
acknowledgethatweandourpersonalrepresentatives,jointlvand severally,areboundtooavtheUnited Statesof
America,thesumof$             1                    /g -                           O o-ygyt
                                                                                         rtg       .



Theconditionsofthisbond arethatthedefendant:

    1. Shall appear before this courtand at such other places as the defendant may be required to appear, in
accordance w1t11 any and a1l orders and directions relating to the defendant's appearance in this case,including
appearanceforviolation ofa condition ofthe defendant'srelease asm ay be ordered ornotified by thiscourtorany
otherUnited StatesDistrictCourttowhichthedefendantmay beheldto answerorthecausetransferred.Thedefendant
isto abideby anyjudgmententered in such matterby surrenderingto serveany sentenceimposedand obeying any
orderordirection inconnectionw1t14suchjudgment.Thisisacontinuingbond,includinganyproceedingonappealor
review,which shallremain in fullforceandeflkctuntilsuchtim easthecourtshallorderotherwise.

        M ay notatanytime,foranyreason whatever,leavetheSouthernDistrictofFloridaorotherDistrictto which
the casemay berem oved ortransferred afterheorshehasappeared in such Districtptlrsllanttotheconditionsofthis
bond,withoutfirstobtainingwritten pennission from thecourt,exceptthatadefendantordered rem oved ortransferred
to anotherdistrictmay travelto thatdistrictasrequired forcourtappearancesand trialpreparation upon writtennotice
to the Clerk ofthis courtorthe courtto which the case has been removed orkansferred.The Southem Districtof
Floridaconsistsofthefollowingcotmties:M onroe,M iami-Dade,Broward,Palm Beach,M artin,St.Lucie,lndian
River,O keechobee,and H ighlands.

   3. M ay notchangehisorherpresentaddressasrecorded on tllisbondwithoutpriorperm issionin writing from
thecourt.

    4. Isrequired toappearin courtatal1timesasrequired bynotice given bythe coul'  toritsclerkto theaddress
on thisbond orin open courtorto the addressaschanged byperm ission from thecourt.Thedefendantisrequired
to ascertain from the Clerk ofCourtordefense counselthe tim e and place ofal1scheduled proceedings on the
case.ln no eventm ay a defendantassum e thathis orher case has been dism issed unless the coul'thas entered m4
orderofdism issal.

    5. The defendant m ustcooperate w ith 1aw enforcem ent officers in the collection of a DN A sam ple ifthe
collection isrequired by 42 U.S.C.Section 14135a.
   6. Shallnotcom m itany actin violation ofstate orfederallaw s.
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#

                                                         DEFENDANT: JOHN K LESS
                                                         CASE NUM BER :19-6187-M J-SELTZER
                                                                          PAG E TW O
                                   SPEC IA L C O ND ITIO N S O F BO N D
ln addition to compliance with the previously stated conditions ofbond,the defendantm ustcomply whh the
specia conditions checked below :
     a.Surrender allpassports and traveldocum ents,ifany,to the PretrialServioesOftk e and notobtain any
        raveldocum entsduring the pendency ofthe Case;
        b.Reportto PretrialServicesasfollows:(         directed r. ti mels)a wcc/cinperson and- timels) a
           eek by telephone;
        c. bm itto substanceabusetesting and/ortreatm ent;
        d,Refrain from excessive use of alcohol,or any use ofa narcotic drug orothercontrolled substance, as
          defined in section l02 ofthe Controlled SubstancesAct(21U.S.C.j802),withoutaprescription by a
          licensed m edicalpractitioner;
        e.Participatein m entalhealth assessmentand/ortreatment;
          Participateand undergo asex offense specific evaluation and treatm ent;
        g.M aintain oractively seek full-time employm ent'
                                                         ,
        h.M aintain orbegin an educationalprogram ' ,

        i. void allcontactwith victim soforwitnessesto the crim escharged,exceptthrough counsel;
        j.Refrainfrom possessingafirearm,destructivedeviceorotherdangerousweapons'
                                                                                 ,
        k,None ofthesignatoriesmay sell,pledge,mortgage,hypothecate,encumber,etc., any property they own
          untilthebond isdischarged,orotherwisem odified by theCourt;
        1.M ay notvisitcom m ercialtransportation establishm ent:airports,seaport/m arinas, commercialbusterminals,
          train stations etc.;
        m.Noaccesstotheintemetviaanytypeofconnectivitydevice(/.e.,computers,pda'
                                                                               s,cellularphones,/v'
                                                                                                  A'
                                                                                                   ),
           andfollow instructionsasoutlined in theagreementwaiverprovided to you by PretrialServices;
        n.H OM E CONFINEM ENT PROGR AM The defendantshallparticipate in one ofthe following hom e
          confine entprogram componentsandabidebyalltherequirementsoftheprogram which ( )willnot
          or( willincludeelectronicmonitoringorotherIocationverifkationsystem,paid forby thedefendant
          bas upon Itis/herabilitytopay ( )orpaid forbyPretrialServices( ).
              Curfew :Youarerestrictedtoyotlrresidenceeverydayfrom        to         .orasdirected bytheCourt.
             HomeDetention:You are restrictedto yourresidenceata11timesexceptfor:( )medicalneedsor
             treatment.( )courtappearances,( )attorneyvisitsorcourtorderedobligations,and
                )other
        o.HALFW AY H OUSE PLACEM ENT The defendant shall reside at a halfway house or com munity
          correctionscenterand abideby alltherulesandregulationsofthe program.
          Youarerestrictedtothehalfwayhouseata1ltimesexceptfor:( )employment;( )education;
          ( )religiousservices;( )medical,substanceabuse,ormentalhealth treatment;( )attorneyvisits;
          ( )courtappearances;( )courtordered obligations;( )reporting to PretrialServices;and
          ( )other
    -   p.M ay travelto and from : SO UTHERN D ISTR ICT OF FL, and m ust notify Pretrial Services of travel
          plansbefore leaving and upon return.
    -   q.Com ply w ith the follow ing additionalconditions ofbond:                 '     u
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                                                        DEFENDANT: JOHN KLESS
                                                        CA SE N U M BER :19-6187-M J-SELTZER
                                                                        PA G E TH R EE

                   PENA LTIES AN D SA N CTIO N S A PPLICA BLE T O D EFEN DA N T

       Violationofanyoftheforegoing conditionsofreleasemayresuh intheimmediateissuanceofawarrantforthe
defendant'sarrest,arevocationofrelease,anorderofdetention,asprovidedin 18U.S.C.j3148,forfeitureofanybail
posted,and aprosecution forcontemptasprovided in 18 U.S.C.j401,which could resultin a possible tenn of
imprisomnentorafine.

        The comm ission of any offense while on pretrial release m ay result in an additional sentencc upon
conviction fbrsuch offenseto aterm ofimprisonmentofnotmorethan ten years,iftheoffenseisa felony;oraterm
ofimprisonm entofnotmore than oneyear,ifthe offense isa misdem eanor.This sentence shallbe consecutiveto
anyothersentenceand mustbeimposedin additionto thesentencereceived fortheoffenseitself.

       Title l8 U.S.C.j1503 makesitacriminaloftknsepunishableby up to five yearsofimprisonmentand a
$250,000tinetointimidateorattempttointimidateawitness,jurororofticerofthecourt;18U.S.C.j1510makesit
a criminaloffense punishable by up to tive years ofimprisonment and a $250,000 fine to obstructa crim inal
investigation;18U.S.C.j1512 makesitacriminaloffense ptmishableby up to ten yearsofimprisonmentand a
$250,000 tine to tamperwith awitness,victim orinformant;and 18 U.S.C.j1513 makesita criminaloffense
punishablebyup to ten yearsofimprisonm entand a$250,000 fineto retaliateagainstawitness,victim orinformant,
orthreaten to do so.

       ltisacriminaloffenseunder18U.S.C.j3146,ifafterhavingbeenreleased,thedefendantknowinglyfailsto
appearasrequiredbytheconditionsofrclease,orto surrenderfortheserviceofsentencepursuantto acourtorder.lf
thedefendantwasreleased in connection with achargeof,orwhileawaiting sentence,surrenderforthe serviceofa
sentence,orappealorcertiorariafterconviction for:

   (1)an offensepunishableby death,lifeimprisonment,orimprisonmentforaterm offifteen yearsormore
       thedefendantshallbefined notm orethan $250,000 orim prisoned fornotmorethan ten years,orboth;
   (2)an offensepunishableby imprisonmentforaterm offiveyearsormore,butlessthan fifteen years,the
       defendantshallbefined notm orethan $250,000 orimprisoned fornotm orethan five years,orboth;
   (3)anyotherfelony,thedefendantshallbefined notmorethan $250,000 orimprisonednotmorethantwo
       years,orboth;
   (4)amisdemeanor,the defendantshallbefined notmorethan $100,000 orimprisoned notmore than one
       year,orboth.

        A tel'm ofimprisonmentimposed forfailure to appearorsurrendershallbe consecutive to the sentence of
imprisonm entforany otheroffense.In addition,a failure to appearmay resultin the forfeiture ofany bailposted,
which meansthatthe defendantwillbe obligated to pay the fullamountofthe bond,which m ay be enforced by all
applicable law softheU nited States.
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                                                                              D EFEN D AN T : JO H N K LE SS
                                                                              CA SE N UM BER : 19-6187-M J-SELTZER
                                                                                               PA G E FO U R
                           PENA LTIES AN D SANCTIO NS A PPLICA BLE TO SUR ETIES
Violationbythedefendantofany oftheforegoing conditionsofreleasewillresultin an imm ediateobligationbythesurety orsureties
topaythefullamountofthebond.Forfeitureofthebondforanybreach ofoneormoreconditionsmay bedeclaredby ajudicial
officerofany United StatesDistrictCourthaving cognizanceoftheaboveentitled matteratthetimeofsuch breach,and ifthebond is
forfeited andtheforfeitureisnotsetasideorremitted,judgmentmay beentered uponmotion in such United StatesDistrictCourt
againsteachsuretyjointlyandseverallyfortheamountofthebond,togetherwith interestandcosts,andexecutionmaybeissuedand
paymentsecured asprovidedbytheFederalRulesofCrim inalProcedureandotherlawsoftheUnitedStates.
                                                     SIG NATURES
IhavecarefullyreadandIunderstandthisentireappearancebond consistingoffourpages,orithasbeen readto me,and,ifnecessary,
translated into my nativelanguage,and Iknow thatlam obligated by law to comply with allofthe term softhisbond.Ipromiseto
obey allconditionsofthisbond,toappearin courtasrequired,and to surrenderforserviceofany sentence imposed.Iam awareofthe
penaltiesandsanctionsoutlined inthisbondforviolationsofthetermsofthebond.
lfIam an agentacting fororon behalfofa corporate surety,Ifurtherrepresentthatlam a duly authorized agentforthe com orate
surety andhavefullpowertoexecutethisbondintheamountstated.

 N O TE :Page 5 ofthis form M U ST be com pleted before the bond w illbe accepted for sling.
                                                                    D EFENDA NT
Signedthis              dayof                                ,20 19 at FORT LAUDERDA LE ,Flori
Signedandacknowledgedbeforeme:                                          DEFENDANT:(Signature)
                                                                               tlxlx.
                                                                                    t                          1.
                          W itness                                                      City                    State

                                                              CO RPO RATE SUR ETY
Signedthis              dayof                                ,20 19 atFORT LAUDERDALE ,Florida
SURETY:                                                                   AGENT:(Signature)
                                                                         PRINT NAM E:
        City                                 State

                                                             IND IV IDUA L SU RETIES
Signedtlis,oz ayofX             * ,20JiatFORTLAUD
             '

                  .                      -                        ,Fl
                                                                    orida Signedthis    dayof     ,2019 atFORTLAUD ,Flori
                                                                                                                        da
SURETY:(Signature)                   %                                    SURETY:(Signature)
PRINTNAME:               Ah                                               PRINTNAME:
RELATIONSHIP TO DEFENDANT:                            i       *           RELATIO NSH IP TO DEFENDANT:

                 City                                State                              City                    State

Signedthis       dayof            ,20J-
                                      i atFORTLAUD ,Florida Signedthis                  dayof     ,2019 at FORT LAUD    ,Flori
                                                                                                                             da
SURETY:(Signattlrel                                                       SUREW :(Signature)
PR INT NAM E:                                                             PRINT NAM E:
RELATIONSHIP TO DEFENDANT:                                                RELATIO NSHIP TO DEFENDANT:

                 City                                State                              City                    State

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